        Case 4:17-cv-00259-DCN Document 41 Filed 04/09/19 Page 1 of 18



                         UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF IDAHO

  HEATH LAYTON,
                                                 Case No. 4:17-cv-00259-DCN
         Plaintiff,
                                                 MEMORANDUM DECISION AND
         v.                                      ORDER

  EAGLE ROCK TIMBER, INC.,

         Defendant.


                                  I. INTRODUCTION

      Pending before the Court are Plaintiff Heath Layton’s Motions in Limine (Dkt. 24)

and Defendant Eagle Rock Timber, Inc.’s (“ERT”) Motions in Limine (Dkt. 34).

      Having reviewed the record and briefs, the Court finds that the facts and legal

arguments are adequately presented. Accordingly, in the interest of avoiding further

delay, and because the Court finds that the decisional process would not be significantly

aided by oral argument, the Court will decide the Motions without oral argument. Dist.

Idaho Loc. Civ. R. 7.1(d)(2)(ii). For the reasons outlined below, the Court will GRANT

in PART and DENY in PART each Motion.

                                  II. BACKGROUND

      ERT is a construction company located in Idaho Falls, Idaho. Layton is a former

employee of ERT who worked primarily as a project manager. Layton contends that he

became disabled when he injured his ankle off the job in March 2018. Layton alleges that

ERT terminated him because of his disability even though he could still perform the



MEMORANDUM DECISION AND ORDER - 1
        Case 4:17-cv-00259-DCN Document 41 Filed 04/09/19 Page 2 of 18



essential functions of his job. ERT, on the other hand, claims that Layton resigned his

employment even though the company wanted him to stay.

       Upon his termination, Layton filed a Charge of Discrimination with the Equal

Employment Opportunity Commission (“EEOC”) and the Idaho Human Rights

Commission, alleging that ERT terminated him because of his disability. After an

investigation, the EEOC issued a Notice of Right to Sue.

       On June 14, 2017, Layton filed suit against ERT alleging a single cause of action:

disability discrimination in violation of the Americans with Disabilities Act (“ADA”).

Neither party filed any discovery motions, nor were dispositive motions filed at any time.

       In anticipation of the upcoming trial, and pursuant to the Court’s trial order (Dkt.

22), both parties filed motions in limine seeking to preclude certain evidence and

testimony at trial. The Court will address each motion in turn.

                                III. LEGAL STANDARD

       “Motions in limine are well-established devices that streamline trials and settle

evidentiary disputes in advance, so that trials are not interrupted mid-course for the

consideration of lengthy and complex evidentiary issues.” Miller v. Lemhi Cty., No. 4:15-

CV-00156-DCN, 2018 WL 1144970, at *1 (D. Idaho Mar. 2, 2018) (citing United States

v. Tokash, 282 F.3d 962, 968 (7th Cir. 2002)). “The term ‘in limine’ means ‘at the

outset.’ A motion in limine is a procedural mechanism to limit in advance testimony or

evidence in a particular area.” United States v. Heller, 551 F.3d 1108, 1111 (9th Cir.

2009) (quoting Black’s Law Dictionary 803 (8th ed. 2004)).




MEMORANDUM DECISION AND ORDER - 2
          Case 4:17-cv-00259-DCN Document 41 Filed 04/09/19 Page 3 of 18



        Because “[a]n in limine order precluding the admission of evidence or testimony is

an evidentiary ruling,” United States v. Komisaruk, 885 F.2d 490, 493 (9th Cir. 1989)

(citation omitted) “a district court has discretion in ruling on a motion in limine.” United

States v. Ravel, 930 F.2d 721, 726 (9th Cir. 1991). Further, in limine rulings are

preliminary and, therefore, “are not binding on the trial judge [who] may always change

his mind during the course of a trial.” Ohler v. United States, 529 U.S. 753, 758 n.3

(2000).

                                            IV. ANALYSIS

    A. Plaintiff’s Motions in Limine1

                    1. Layton’s DUI

        GRANTED in PART, DENIED in PART.

        In his first Motion in Limine, Layton asks the Court for an order prohibiting any

mention of—or evidence related to—his arrest for driving under the influence (“DUI”) in

September 2015. Layton asserts that this episode is irrelevant to the claims at issue and

would be highly prejudicial if presented to a jury. In contrast, ERT believes that this

event is relevant and that it will actually benefit Layton if addressed.




1
 For brevity, and due to time constraints, the Court will not reiterate each sides’ arguments at length as to
each individual motion in limine. Rather, the Court will give a simple explanation along with a brief
analysis and any relevant parameters. Additionally, the Court’s rulings on these motions are interlocutory.
Depending on how certain evidence is presented at trial—particularly if the “door is opened” for any
particular topic—the Court may reconsider its decision.




MEMORANDUM DECISION AND ORDER - 3
            Case 4:17-cv-00259-DCN Document 41 Filed 04/09/19 Page 4 of 18



          By way of explanation, this incident occurred while Layton was working for ERT

on various projects in North Dakota. At some point during his tenure there, Layton was

arrested for driving under the influence while operating a company vehicle. Eventually,

Layton entered into a plea agreement for reckless driving. His commercial driver’s

license (“CDL”) was subsequently suspended.2

          Under Federal Rule of Evidence 403, the Court must weigh the competing interest

of (1) the probative value of any evidence, and (2) whether prejudice, confusion, delay, or

other dangers will result if it is introduced. “Applying Rule 403 to determine if evidence

is prejudicial . . . requires a fact-intensive, context-specific inquiry.” Sprint/United

Management Co. v. Mendelsohn, 552 U.S. 379, 386 (2008). A Court has broad discretion

in this inquiry. See Ruvalcaba v. City of Los Angeles, 64 F.3d 1323, 1328 (9th Cir. 1995).

          First, ERT asserts that it does not seek to impugn Layton’s character with this

evidence, but to bolster its argument that even with a DUI charge and CDL suspension, it

wanted to keep Layton as an employee because of his work on various projects. Under

Rule 403, the Court finds that this information—while probative—would be highly

prejudicial. Layton’s DUI charge has little to do with the case at bar. This situation does

not corroborate or disprove whether Layton had a disability, whether ERT accommodated

his disability, nor illustrate how his employment with ERT ended. Additionally, ERT’s

behavior relative to Layton’s DUI charge and CDL suspension is not necessarily



2
    It is unclear whether this was a temporary or permanent suspension.




MEMORANDUM DECISION AND ORDER - 4
         Case 4:17-cv-00259-DCN Document 41 Filed 04/09/19 Page 5 of 18



indicative of its behavior during the time of their separation.3 That said, if, during its

case, ERT wishes to provide testimony that Layton was a valuable employee, they could

simply state that even when he lost his CDL at one point, they kept him on; however, no

details of why he lost his CDL need be given.

        Second, ERT contends that Layton needs this evidence to support one of his

claims. After Layton and ERT parted ways, he obtained a job with a company called

Fisher Construction. Layton claims that he lost that job, in part, because the company

found out about his past DUI charge and that this information could have only come from

ERT. Eventually, Layton obtained a new job at the Idaho National Laboratory (“INL”).

        As part of the current action, Layton is claiming lost wages from the time he lost

his job with Fischer until he started at the INL. Layton claims—not as an official cause of

action, but in support of his other claims—that ERT retaliated against him, tampered with

his personnel file, and tipped off Fisher Construction to his prior DUI charge.4

        This claim does appear speculative—after all Fisher Construction could have

received the same information from a simple background check—but Layton is free to

present his testimony and ERT is free to refute that testimony.




3
  After all, to say that ERT accommodated Layton when he lost his CDL (while arguably true) and that
this then proves they accommodated him when he was disabled is tenuous at best. Accommodating a
person who lost his CDL is different that accommodating a person who has a disability.
4
 Of course, any claim that Fisher Construction wrongfully discharged or improperly refused to hire him
because of a DUI charge rather than a DUI conviction is a claim against Fisher Construction who is not a
party to this case.



MEMORANDUM DECISION AND ORDER - 5
          Case 4:17-cv-00259-DCN Document 41 Filed 04/09/19 Page 6 of 18



       Regardless, the Court will not allow Layton to open the door to an

interference/retaliation argument without some detail. Therefore, Layton must understand

that if he presents testimony concerning lost wages from his time at Fisher Construction

or claims ERT somehow was involved in retaliatory, or tampering, conduct, the DUI

charge will likely come in as ERT must be allowed a fair opportunity to defend itself.

       In short, this Motion is GRANTED in PART and DENIED in PART. The Court

will not allow into evidence any testimony concerning the DUI charge. If ERT desires to

say that Layton was a good employee who they supported, they can simply say that even

when he lost his CDL, they kept him on. Second, if Layton wishes to pursue his position

that ERT tampered with his file, retaliated against him in tipping off Fisher Construction

to his DUI, or that ERT is responsible for lost wages because of his being let go from

Fisher Construction, that is his prerogative. The ramifications of that, however, are that

the DUI situation will most likely come in, as ERT will have to defend itself against such

claims.


                  2. ERT’s Affirmative Defenses

       DENIED.

       In this Motion, Layton seeks an order prohibiting ERT from presenting evidence

or facts in support of six of the eight affirmative defenses it raised in its Answer. Dkt. 3.

Layton’s purported reason for such a request is that, in his estimation, these defenses

“have no facts supporting them or are completely irrelevant.” Dkt. 24, at 3. This request

is somewhat difficult to address.



MEMORANDUM DECISION AND ORDER - 6
         Case 4:17-cv-00259-DCN Document 41 Filed 04/09/19 Page 7 of 18



        First, to date, the Court’s involvement has been extremely limited in this case, as

neither party filed any discovery motions or dispositive motions. The sole motion filed in

this case related to reimbursement of certain costs and fees associated with a failed

mediation. In short, the Court has made no formal rulings that affect either the law or the

facts of this case and is simply not in a position to rule on the legality, or factual support,

of ERT’s defenses as Layton requests.

        Second, this particular motion appears akin to a motion for summary judgment in

that Layton is asking the Court to find, as a matter of law, that ERT’s defenses are

invalid. As just noted, while the Court does not have the background to make such a

determination, a motion in limine is also not the appropriate forum for such a request. If

Layton wanted a firm ruling on ERT’s affirmative defenses (or even simply to strike

them), he should have petitioned the Court via an appropriate motion.5

        Now, to be sure, some of ERT’s affirmative defenses are purely legal in nature

(such as ERT’s first affirmative defense: failure to state a claim under Federal Rule of

Civil Procedure 12). A defense such as this would have been dealt with in legal motions




5
  The Court is not placing a total prohibition on ruling on affirmative defenses in Motions in Limine—in
fact it has done so before. See e.g. Cusack v. BendPak, Inc., No. 4:17-CV-00003-DCN, 2018 WL
4390715, at *11 (D. Idaho Sept. 13, 2018). In that case, however, the parties extensively briefed the
individual defenses and whether any particular defense found support in the record. The Court would
require the same of the parties here. If Layton wanted to exclude a specific defense, he should have
explained in detail what the evidence was and why it did not support that defense. Here, his blanket
statement that none of the defenses “have . . . facts supporting them or are completely irrelevant and
misplaced” is simply not enough. Dkt. 24, at 3.




MEMORANDUM DECISION AND ORDER - 7
            Case 4:17-cv-00259-DCN Document 41 Filed 04/09/19 Page 8 of 18



before the Court and not at trial before a jury—but, again, that was not done here. ERT

obviously will not be presenting a Rule 12 argument to the jury for their consideration.

          Additionally, because a case begins broad and narrows through discovery, if ERT

does not have any facts, evidence, or testimony in support of a particular defense it

originally pleaded, presumably that defense will not come up at trial.6 Asking the Court,

however, to wholesale preclude six of ERT’s eight affirmative defenses is improper and

unnecessary at this point.

          In short, the Court cannot find as a matter of law that ERT’s affirmative defenses

must be precluded, but frankly does not see this as an issue at trial. As ERT points out

“there are not significant legal issues surrounding the . . . trial. Rather, there exist

substantial factual issues surrounding the end of Layton’s employment relationship with

ERT.” Dkt. 33, at 2. The Court will allow any factual evidence or testimony that validly

supports any claim or defense. The motion is DENIED.

          If either party believes that the relevancy of this ruling changes during trial, they

can address it outside the presence of the jury and the Court will make a determination at

that time.

                       3. Documentary Evidence

          GRANTED in PART; DENIED in PART.

          In this motion, Layton asks the Court to rule that three documents (or more




6
    The Court will clearly not allow ERT to argue theories that have no factual or legal basis.



MEMORANDUM DECISION AND ORDER - 8
        Case 4:17-cv-00259-DCN Document 41 Filed 04/09/19 Page 9 of 18



accurately two types of documents and one specific document) are “per se admissible” at

trial. Layton asks that the Court preemptively admit:

       1. The deposition testimony of the parties and witnesses.

       2. Defendant’s signed responses to Interrogatories.

       3. A letter from ERT’s former attorney to Plaintiff’s Counsel.

       Again, this request is formulated somewhat oddly. Frankly, very few things are

admissible “per se” at trial. The Federal Rules of Evidence mandate that proper

foundation, authentication, or other relevant testimony is necessary for any evidence;

however, for all intents and purposes, the parties are not at odds here. That is to say, ERT

(and the Court) agree that deposition testimony can be utilized at trial in accordance with

Federal Rule of Civil Procedure 32 and Federal Rule of Evidence 612 and 613, and that

discovery responses could be introduced for impeachment purposes under Federal Rule

of Evidence 608.

       Thus, the Court will not affirmatively say that these documents are admissible

(simply because it has not seen them yet) however, it is likely that there will be no

problems with their admissibility at trial.

       As for the attorney letter, however, the Court cannot rule on its admissibility at

this time. Layton must lay the proper foundation and bears the burden of establishing its

admissibility under applicable Federal Rules of Evidence. This motion is, therefore,

GRANTED in PART and DENIED in PART.

                   4. Layton’s Disability

       DENIED.


MEMORANDUM DECISION AND ORDER - 9
           Case 4:17-cv-00259-DCN Document 41 Filed 04/09/19 Page 10 of 18



          In his final motion, Layton asks the Court to rule as a matter of law that he was

disabled at the time of his termination. Again, this opportunity has passed.7

          While it is true that the deposition testimony in the record seems to indicate that

ERT thought Layton had a “limitation,” but not a disability (a potential misunderstanding

of the law), this issue would have been more appropriately presented at summary

judgment. Layton is, of course, free to argue his position that this was a misunderstanding

of the law, but asking the Court to rule on a prima facie element of the case—whether he

had a disability—with a mere three paragraphs of briefing is not appropriate.

          Additionally, while it also appears that ERT’s arguments will be focused more on

the facts surrounding the end of Layton’s employment at ERT—whether he was

terminated or resigned—not whether he had a disability in the first instance, it has not

acquiesced this point.

          Whether or not Layton had a disability, whether he could perform his job, and

whether ERT accommodated him are all questions that underlie the parties’ behavior at

the close of their relationship and are all highly relevant to whether there was a violation

of the law. The Court will not take the opportunity to weigh these factors away from the

jury.

          Finally, Layton asserts that he should not have to go through the time and expense

of calling an Orthopedic surgeon to testify that, as a wheelchair bound individual, Layton




7
    Alternatively, the Court does not have sufficient evidence to make such a determination.



MEMORANDUM DECISION AND ORDER - 10
           Case 4:17-cv-00259-DCN Document 41 Filed 04/09/19 Page 11 of 18



was limited in his ability to walk—a major life activity—and thus had a qualifying

disability under the ADA. Nonetheless, proving that he had a disability is Layton’s

burden, and in the absence of a stipulation from ERT, he must proffer whatever testimony

or evidence he deems necessary to meet that burden—even if he himself sees his

disability as obvious and apparent.8 Layton’s motion for a determination that he was

disabled is DENIED.

      B. Defendants’ Motion in Limine

                      1. Unemployment Benefits

          GRANTED in PART, DENIED in PART.

          ERT’s first motion in limine seeks exclusion of documents and testimony related

to Layton’s claim for unemployment benefits.

          Here, some background is helpful.

          After Layton’s employment ended with ERT, he filed an unemployment claim

with the Idaho Department of Labor (“the Department”). It appears that in the original

proceedings, ERT claimed that Layton was “discharged,” that he was not at fault for his

separation from ERT, and that the owner had simply decided they should “part ways.”

Upon this record, the Department found that Layton “[was] not discharged for work-

related misconduct” and awarded his claim for unemployment benefits. Dkt. 39, at 29.




8
    The Court takes no position on whether an Orthopedic surgeon is necessary in this case.



MEMORANDUM DECISION AND ORDER - 11
       Case 4:17-cv-00259-DCN Document 41 Filed 04/09/19 Page 12 of 18



       Some months later, ERT decided—in response to a litigation hold letter issued at

the outset of this litigation according to Layton—to appeal the Department’s granting of

benefits. At that appeal hearing, ERT asserted that Layton was terminated for

misconduct; specifically, that he had falsified time cards and received a DUI. Upon this

basis, the Department reversed its earlier finding and denied Layton benefits. The denial

was later affirmed on appeal.

       ERT correctly notes that under Idaho Code section 72-1368(11), decisions relating

to unemployment have no preclusive effect on any subsequent proceedings outside that

chapter. In other words, ERT cannot use the Departments’ findings to support or deny

any claims in this case. Hearkening to this principle, ERT seeks an order from the Court

excluding all information related to Layton’s claims for unemployment benefits.

       The Court agrees with this premise. As the Court recently noted, “another fact

finder’s conclusions . . . should not be imposed [on a] jury” when the evidentiary and

proof standards utilized are not the same and the ultimate objective is different. See

Fuller v. Dep’t of Corr., No. 1:13-CV-00035-DCN, 2019 WL 332395, at *3 (D. Idaho

Jan. 25, 2019). In this case, that concept applies. The question before the jury in this

litigation is not whether Layton was entitled to unemployment benefits, but whether he

was discriminated against because of his disability. Accordingly, the documents, in

themselves, do not have any bearing on this case.

       That said, Layton does not want to introduce this evidence to prove whether or not

he was entitled to unemployment benefits or even whether or not he had a disability and

was discriminated against. Layton wants to introduce the unemployment file for the sole


MEMORANDUM DECISION AND ORDER - 12
        Case 4:17-cv-00259-DCN Document 41 Filed 04/09/19 Page 13 of 18



purpose of impeaching ERT and its varying reasons as to how and why his employment

ended. In other words, it appears that Layton could care less where the documents came

from, or what the outcome of those proceedings were, but wants to introduce specific

information contained within them.

       Upon review, the Court concludes that because the documents themselves are

irrelevant to the current case, they will not be admitted into evidence. That said, some of

the information contained within the documents is relevant and, therefore, Layton will be

allowed to illicit testimony from ERT that it changed its position regarding his separation

and, if it becomes necessary, he may use the unemployment documents for impeachment

purposes.9

       Each side is admonished to tell their respective witnesses of this ruling, explain

how to approach the subject, and that any accidental reference to the Idaho Department of

Labor, unemployment benefits, or the outcome of those proceedings will be stricken.

       ERT’s motion to exclude evidence of Layton’s claim for unemployment benefits

is GRATED in PART and DENIED in PART. While the documents themselves will not

come in as evidence—redacted or otherwise—they can be used for impeachment

purposes if necessary.




9
 For example, Layton can ask how ERT characterized his departure and whether that changed
over time. If, and only if, ERT denies that it took a conflicting position, can Layton bring up the
unemployment documents. Even then, he cannot reference what they are, but could simply read
what ERT’s position was and ask if that was a statement ERT made at one time.




MEMORANDUM DECISION AND ORDER - 13
         Case 4:17-cv-00259-DCN Document 41 Filed 04/09/19 Page 14 of 18



                    2. Other ERT Employees

        GRANTED.

        In this Motion, ERT asks that Layton be precluded from presenting testimony

from other ERT employees regarding alleged discrimination by ERT. Layton confirms

that he does not intend to submit such evidence.10

                    3. Layton’s Work Performance

        DENIED.

        In its final motion, ERT asks that the Court preclude Layton from providing

testimony that his work performance was satisfactory. ERT asserts that this type of

testimony would be self-serving and is not relevant to the claim of discrimination.

        ERT cites a 40-year-old case from outside this Circuit finding that a plaintiff’s

perception of his or her own work performance is irrelevant. Smith v. Flax, 618 F.2d

1062, 1067 (4th Cir. 1980). While not binding on this Court, it should be noted that even

this case does not stand for the proposition that such testimony is inadmissible, but

simply that it should not be considered.

        In the present case, however, the Court finds that Layton’s perception of his

abilities—and in turn his performance—is highly relevant. As noted, the jury will have to

weigh whether Layton had a disability, whether he could perform his job, and whether

ERT accommodated him. Imbedded within the question of whether a person can perform




10
  If any testimony presented at trial opens the door on this topic, a hearing outside the presence of the
jury will be held to consider the issue and how to proceed.



MEMORANDUM DECISION AND ORDER - 14
       Case 4:17-cv-00259-DCN Document 41 Filed 04/09/19 Page 15 of 18



his or her job (with or without an accommodation) is whether his or her performance was

up to par.

       Additionally, while this type of testimony may be self-serving, ERT will have a

full opportunity to offer testimony in rebuttal. Layton can surely give his personal

opinion as to his performance and ERT will have an opportunity to respond—either with

testimony refuting Layton’s assertions that his performance was satisfactory, with closing

argument that his perception is irrelevant, or possibly even a jury instruction.

       The Court does not know what consequences may come from such testimony, but

it will not preclude it at this time. ERT’s motion that Layton cannot testify as to his

performance is DENIED.

   C. Other Objections

       In accordance with Local Rule 16.3(c), both parties objected to various trial

submissions filed by the opposing party. The Court requires these objections in an effort

to streamline trial. Some of them can be ruled upon before trial; some cannot. And while

a party is free to raise any objection it deems appropriate during trial, the Court

appreciates the advance notice of where disagreements may arise.

       Objections to a specific witness or a specific exhibit should be raised the night

prior to—or the morning of—that expected witness’s testimony or the submission of that

particular exhibit. The Court will initially address each objection outside the presence of

the jury. A ruling may follow, or the Court may need to hear from the witness or see how

an exhibit is presented before making a final ruling.




MEMORANDUM DECISION AND ORDER - 15
        Case 4:17-cv-00259-DCN Document 41 Filed 04/09/19 Page 16 of 18



       Objections to jury instructions or the verdict form will be addressed during the

Court’s informal jury conference—and the subsequent formal conference—following the

close of evidence.

       That said, the Court wishes to specifically highlight three topics that have been

raised in the party’s objections (Dkts. 37, 38) and provide some preliminary analysis.

       1. Layton’s Work Performance

       First, in one of his objections, Layton asserts that ERT plans to call two witnesses

solely for the purpose of impugning his work performance. Layton asserts that this

testimony will be irrelevant as his work performance is irrelevant in light of ERT’s claim

that it did not terminate Layton for work performance issues. The problem with this

concept is that it is not entirely clear that ERT will take this position at trial. They appear

to have taken it before, but without hearing the evidence and argument at trial, the Court

does not know if they actually intend to call into question Layton’s performance.

       Furthermore, this topic is closely tied to the Court’s ruling above that work

performance is an issue in this case insofar as it relates to whether Layton could perform

the necessary tasks of his job and whether ERT provided him with a reasonable

accommodation. The Court is allowing Layton to opine on these matters and it may allow

others to do so as well. Each party can represent what weight, if any, the jury should give

that testimony, and each can impeach the other side if necessary, but the Court cannot

broadly rule on this matter at this time.

       2. Documentary Evidence

       Second, ERT half-heartedly objects to Layton’s identification of deposition


MEMORANDUM DECISION AND ORDER - 16
        Case 4:17-cv-00259-DCN Document 41 Filed 04/09/19 Page 17 of 18



transcripts and discovery responses as exhibits, claiming (as in the motion in limine on

the same issue) that these items are cumulative of live testimony or not the best evidence

(again, in favor of live testimony) and that the Court should limit the use of these items to

those purposes outlined in applicable rules. As noted above, the Court will do just that.

This evidence may be utilized, but only as allowed under the Federal Rules of Civil

Procedure and the Federal Rules of Evidence.

       3. Punitive Damages

       Third, and finally, ERT raises the issue of Layton’s request for punitive damages

in his Complaint. See Dkt. 1, at 6.

       As ERT correctly notes, Layton’s inclusion of punitive damages in his prayer for

relief was in error. Under Idaho Code section 6-1604(2) a claim for punitive damages

cannot be included in a complaint, but can only be added via motion—either during the

course of litigation or at trial.

       In this case, Layton has not moved for the inclusion of punitive damages at trial,

nor shown a reasonable likelihood of proving facts sufficient to support such a claim.

Accordingly, at this time, Layton will not be allowed to make a claim for punitive

damages at trial. If appropriate, following the evidence submitted at trial, Layton could

make such a motion. See e.g., Cusack v. Bendpak, Inc., No. 4:17-CV-00003-DCN, 2018

WL 1768030, at *7 (D. Idaho Apr. 12, 2018); Murray v. City of Bonners Ferry, No. 2:15-

CV-00081-REB, 2017 WL 4318738, at *18 (D. Idaho Sept. 28, 2017).




MEMORANDUM DECISION AND ORDER - 17
     Case 4:17-cv-00259-DCN Document 41 Filed 04/09/19 Page 18 of 18



                                     V. ORDER

The Court HEREBY ORDERS:

  1. Layton’s Motions in Limine (Dkt. 24) are GRANTED in PART and DENIED in

     PART as outlined above.

  2. ERT’s Motions in Limine (Dkt. 34) are GRANTED in PART and DENIED in

     PART as outlined above.

  3. The Court grants, denies, or withholds ruling on Layton and ERT Objections

     (Dkts. 37, 38) as outlined above and as will be determined at trial.


                                               DATED: April 9, 2019


                                               _________________________
                                               David C. Nye
                                               Chief U.S. District Court Judge




MEMORANDUM DECISION AND ORDER - 18
